                                       UNITED STATES DISTRICT COURT
                        Case 6:09-cr-00028-WMW Document 5 Filed 08/28/09 Page 1 of 1
                                                  for the
                                      EASTERN DISTRICT OF CALIFORNIA

                                                                    CITATION/CASE NO. 6:09-cr-0028-YNP
U.S.A.
v.
                                          JUDGMENT and ORDER TO PAY
Mark Hoyt

SOCIAL SECURITY #:
DATE of BIRTH:
DRIVER’S LICENSE #:
ADDRESS:

                 City                     State                     Zip Code

I UNDERSTAND THAT IF I MOVE PRIOR TO PAYING ANY FINE, RESTITUTION, PENALTY ASSESSMENT or PROCESSING FEE IN THIS
CASE, I MUST NOTIFY THE UNITED STATES ATTORNEY IN WRITING WITHIN SIXTY (60) DAYS OF ANY CHANGE IN MY RESIDENCE
ADDRESS OR MAILING ADDRESS. NOTE: FAILURE TO PAY COULD RESULT IN A WARRANT BEING ISSUED OR AN ABSTRACT
AGAINST MY DRIVER’S LICENSE OR VEHICLE BEING ISSUED.

I CERTIFY THAT ALL OF THE ABOVE INFORM ATION IS TRUE and CORRECT

DATE:
                                          Defendant’s Signature


YOU ARE HEREBY ORDERED TO PAY/COMPLY WITH THE FOLLOWING:

( ✔) FINE of $ 975.00                              ( ✔) Penalty ASSESSM ENT of $ 25.00

( ) PROCESSING Fee of $                                    for a TOTAL AM OUNT of $ 1000.00                            ,

paid within                    xxxxxxxxxxx
                               days / months OR payments of $                     per month, commencing

                                and due on the                           of each month until PAID IN FULL - note late payments
could be subject to late/delinquent charges imposed by C.V.B..

(✔) REVIEW /Post Sentencing HEARING DATE: 8/27/2010                    at 10:00             a.m. / p.m. in Dept. Yose
( ) Compliance HEARING: :                          at                  a.m. / p.m. in Dept.
( ) RESTITUTION
( ) COMMUNITY SERVICE                                             with fees not to exceed $
to be completed by                                        with Proof mailed to the Clerk of the Court.
( ) Traffic School By:                             with Proof mailed to
(✔) PROBATION to be unsupervised / supervised for: Unsupervised probation for 12 months. Terms and conditions:
Obey all laws, $200 of $1000 mandatory fine shall be suspended for duration of probation. Do not use or possess
controlled substance in Yosemite.

Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to (check one):

         CENTRAL VIOLATIONS BUREAU                         CLERK, U.S.D.C.               ✔ CLERK, U.S.D.C.
         PO Box 70939                                      501 ‘I’ St., #4-200               2500 Tulare St., Rm 1501
         Charlotte, NC 28272-0939                          Sacramento, CA 95814              Fresno, CA 93721
         1-800-827-2982

Your check or money order must indicate your name and citation/case number shown above to ensure your account is credited for
payment received.

DATED:    8/28/2009                                                  /s/Laurie C. Yu
                                                       for: U.S. MAGISTRATE JUDGE
                                                                                                              ED C A - R ev 4/2007
